Case 2:02-cr-20029-SH|\/| Document 194 Filed 07/11/05 Page 10f2 Page|D`lBO

 

-FI£I¥BY_“, Ddl
IN THE UNITED STATES DISTRICT COURT
FOR 'I‘HE WESTER.N DISTRICT OF TENNESSEE 05 3
WESTERN DIVISION JUL ll FH h '*1
Il [`E; l '
UNITED STATES OF AMERICA, . wm%§'fw ME`}.H_“S
VS. NO. OZ~ZOOZ§J-'Ma

DOYCE ELLIOT'I‘ HUNT ,

Defendant.

 

ORDER DENYING MO'I‘ION

 

The defendant, Doyce Elliott Hunt, filed a document with the
court on June 23, 2005, entitled “Defendant’s Motion to Order the
United States Marshall's [sic] Service for Him to Travel With His
Legal Documents.” Mr. Hunt is represented by counsel. He is not
pro se. The court finds that this motion is Without merit and
should be denied and instructs the defendant not to file any
further documents pro se. The court instructs the clerk not to
accept any pro se filings from this defendant.

It is so ORDERED this l|*L`day of July, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

Thls doc\.ment entered en the docket sheet ln compliance
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Notice of Distribution

This notice confirms a copy of the document docketed as number 194 in
case 2:02-CR-20029 Was distributed by faX, mail, or direct printing on
July ]2, 2005 to the parties listed.

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
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Honorable Samuel Mays
US DISTRICT COURT

